 

 

Case 1:18-cr-00083-TSE Document 161-2 Filed 07/26/18 Page 1 of 5 PagelD# 2828

PR 27, 2012 LEASE REVIEW LAND ROVER F & I (fa PORT 5161 4790

LANDROVER ALEXANDRIA F&I MGR: PORTENE PUGH

BUYER: LEASE#: 33614

STOCK#: 12036L 2612 LAND ROVER RANGE ROVER

GRS CAP COST 92725.74 MONTHLY TAX 2.20 1ST PAYMENT 1378.81

SALES TAX 2885.25. MO PROP TAX 9.00 CAP RED 14233.19

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TOT TERM DEP 37157.75 TOT TAXES 9576.67

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MO LEASE CHG 346.65

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BASE PAYMENT 1378.81 LEV PREMIUM @.08 - DEAL DATE 84/25/2012
A&H PREMIUM 8.09 2ND PYMT OTE 65/25/2012
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Land Rover Alexandria - Sales Worksheet

| | LAND ROVER ALEXANDRIA
| SALES WORKSHEET

04/27/2012
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CUSTOMER INFORMATION

Paul Manafon + Agthleea fone

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” Contact Overview ‘

 

 

 

 

 

 

 

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